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        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(b)                                           Order Filed on January 10, 2025
                                                                      Chapter 11
        In re:                                                                                        by Clerk
                                                                                                U.S. Bankruptcy Court
                                                                      Case No. 22-19361 (MBK)District of New Jersey
        BLOCKFI INC., et al.,                                                                              2
                                                                     (Jointly Administered under a Confirmed Plan )

                                   Debtors. 1
                                                                      Hearing Date: February 6, 2025 @ 10:00
                                                                      a.m. ET



          BRIDGE ORDER EXTENDING THE WIND-DOWN DEBTORS’ TIME TO FILE
                        AND SERVE OBJECTIONS TO CLAIMS




                 The relief set forth on the following pages, numbered one (1) through two (2), is hereby

    ORDERED.




DATED: January 10, 2025


    1
      The Wind-Down Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC (5017); BlockFi
    Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
    LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down
    Debtors’ service address is c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019.
    2
      On October 3, 2023, the Court entered an order confirming the Third Amended Joint Chapter 11 Plan of BlockFi
    Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Additional Technical Modifications)
    (the “Plan”) [Docket No. 1609].
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 Debtors:                     BLOCKFI INC., et al.
 Case No.                     22-19361 (MBK)
 Caption of Order:            BRIDGE ORDER EXTENDING THE WIND-DOWN DEBTORS’ TIME
                              TO FILE AND SERVE OBJECTIONS TO CLAIMS



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     Local Counsel for the Plan Administrator
            THIS MATTER having been brought before the Court on behalf of the Wind-Down

 Debtors, upon a Motion for Entry of an Order Extending the Period to File and Service Objections

 to Claim (the “Motion”); 1 and the current time within which the Wind-Down Debtors may file and

 serve objections to claims expires on January 16, 2025; and good cause appearing for the entry of

 this order (the “Bridge Order”);




 1
         All capitalized terms used but not otherwise defined herein shall have the same meanings ascribed to them
 in the Motion.
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             It is ORDERED as follows:

        1.      The Motion is hereby GRANTED on a temporary basis pending final approval of

 the Motion by this Court.

        2.      The deadline to file and serve objections to claims is hereby extended through and

 including the date by which the Court enters a final order with respect to the Motion.

        3.      This Bridge Order is effective immediately upon entry.

        4.      The Wind-Down Debtors’ counsel shall serve a true copy of this Bridge Order on

 all interested parties within seven (7) days of the date hereof.

        5.      All parties in interest reserve any and all of their rights with respect to the final

 determination on the Motion.

        6.      This Bridge Order is without prejudice to the Wind-Down Debtors’ right to seek

 further extensions of time within which file and serve objections to claims.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Bridge Order.

        8.      This Court shall retain jurisdiction with respect to all matters arising from or

 relating to the implementation of this Bridge Order.
